Case 1:21-cr-00742-EGS Document 5-4 Filed 12/22/21 Page 1 of 11

ATTACHMENT D
INDEPENDENT COMPLIANCE MONITOR

The duties and authority of the Independent Compliance Monitor (the “Monitor’), and the
obligations of Balfour Beatty Communities, LLC (the “Defendant’”), on behalf of itself and its
subsidiaries and affiliates, with respect to the Monitor and the United States Department of Justice,
Criminal Division, Fraud Section (the “Fraud Section”), are as described below:

1. The Defendant will retain the Monitor for a period of three years (the “Term of the
Monitorship”), unless the extension or early termination provision of Paragraph 1 of the plea
agreement (the “Agreement”) is triggered.

Monitor’s Mandate

2. The Monitor’s primary responsibility is to assess and monitor the Defendant’s
compliance with the terms of the Agreement, including the corporate compliance program in
Attachment C, to specifically address and reduce the risk of any recurrence of the Defendant’s
misconduct. During the Term of the Monitorship, the Monitor will evaluate, in the manner set
forth below, the effectiveness of the internal controls, record-keeping, and financial reporting
policies and procedures of the Defendant as they relate to the Defendant’s current and ongoing
compliance with U.S. anti-fraud laws and applicable Department of Defense regulations and take
such reasonable steps as, in his or her view, may be necessary to fulfill the foregoing mandate (the
“Mandate”). The Mandate shall also include an assessment of the Board of Directors’ and senior
management’s commitment to, and effective implementation of, the corporate compliance

program as described in Attachment C of the Agreement.
Case 1:21-cr-00742-EGS Document 5-4 Filed 12/22/21 Page 2 of 11

Defendant’s Obligations

3. The Defendant shall cooperate fully with the Monitor, and the Monitor shall have
the authority to take such reasonable steps as, in his or her view, may be necessary to be fully
informed about the Defendant’s compliance program in accordance with the principles set forth
herein and subject to applicable law, including applicable data protection and labor laws and
regulations. To that end, the Defendant shall: facilitate the Monitor’s access to the Defendant’s
documents and resources; not limit such access, except as provided in Paragraphs 5-6; and provide
guidance on applicable local law (such as relevant data protection and labor laws). The Defendant
shall provide the Monitor with access to all information, documents, records, facilities, and
employees, as reasonably requested by the Monitor, that fall within the scope of the Mandate of
the Monitor under the Agreement. The Defendant shall use its best efforts to provide the Monitor
with access to the Defendant’s former employees and its third-party vendors, agents, and
consultants.

4. Any disclosure by the Defendant to the Monitor concerning corrupt payments, false
books and records, and internal accounting control failures shall not relieve the Defendant of any
otherwise applicable obligation to truthfully disclose such matters to the Fraud Section, pursuant
to the Agreement.

Withholding Access

5. The parties agree that no attorney-client relationship shall be formed between the
Defendant and the Monitor. In the event that the Defendant seeks to withhold from the Monitor
access to information, documents, records, facilities, or current or former employees of the
Defendant that may be subject to a claim of attorney-client privilege or to the attorney work-

product doctrine, or where the Defendant reasonably believes production would otherwise be

D-2
Case 1:21-cr-00742-EGS Document 5-4 Filed 12/22/21 Page 3 of 11

inconsistent with applicable law, the Defendant shall work cooperatively with the Monitor to
resolve the matter to the satisfaction of the Monitor.

6. If the matter cannot be resolved, at the request of the Monitor, the Defendant shall
promptly provide written notice to the Monitor and the Fraud Section. Such notice shall include a
general description of the nature of the information, documents, records, facilities, or current or
former employees that are being withheld, as well as the legal basis for withholding access. The
Fraud Section may then consider whether to make a further request for access to such information,
documents, records, facilities, or employees.

Monitor’s Coordination with the
Defendant and Review Methodology

7. In carrying out the Mandate, to the extent appropriate under the circumstances, the
Monitor should coordinate with Defendant’s personnel, including in-house counsel, compliance
personnel, and internal auditors, on an ongoing basis. The Monitor may rely on the product of the
Defendant’s processes, such as the results of studies, reviews, sampling and testing methodologies,
audits, and analyses conducted by or on behalf of the Defendant, as well as the Defendant’s internal
resources (e.g., legal, compliance, and internal audit), which can assist the Monitor in carrying out
the Mandate through increased efficiency and Defendant-specific expertise, provided that the
Monitor has confidence in the quality of those resources.

8. The Monitor’s reviews should use a risk-based approach, and thus, the Monitor is
not expected to conduct a comprehensive review of all business lines, all business activities, or all
markets. In carrying out the Mandate, the Monitor should consider, for instance, risks presented
by: (a) organizational structure; (b) training programs or lack thereof; (c) compensation structure;
(d) internal auditing processes; (e) internal investigation procedures; (f) reporting mechanisms; (g)
corporate culture; and (h) employee incentives and disincentives.

D-3
Case 1:21-cr-00742-EGS Document 5-4 Filed 12/22/21 Page 4 of 11

9. In undertaking the reviews to carry out the Mandate, the Monitor shall formulate
conclusions based on, among other things: (a) inspection of relevant documents, including the
Defendant’s current policies and procedures governing compliance with U.S. anti-fraud laws and
applicable Department of Defense regulations; (b) on-site observation of selected systems and
procedures of the Defendant at sample sites, including internal controls, record-keeping, and
internal audit procedures; (c) meetings with, and interviews of, relevant current and, where
appropriate, former directors, officers, employees, business partners, agents, and other persons at
mutually convenient times and places; and (d) analyses, studies, and testing of the Defendant’s
compliance program.

Monitor’s Written Work Plans

10. To carry out the Mandate, during the Term of the Monitorship, the Monitor shall
conduct an initial (“first”) review and prepare a first report, followed by at least two follow-up
reviews and reports as described in Paragraphs 16-19 below. With respect to the first report, after
consultation with the Defendant and the Fraud Section, the Monitor shall prepare the first written
work plan within sixty (60) calendar days of being retained, and the Defendant and the Fraud
Section shall provide comments within thirty (30) calendar days after receipt of the written work
plan. With respect to each follow-up report, after consultation with the Defendant and the Fraud
Section, the Monitor shall prepare a written work plan at least thirty (30) calendar days prior to
commencing a review, and the Defendant and the Fraud Section shall provide comments within
twenty (20) calendar days after receipt of the written work plan. Any disputes between the
Defendant and the Monitor with respect to any written work plan shall be decided by the Fraud

Section in its sole discretion.
Case 1:21-cr-00742-EGS Document 5-4 Filed 12/22/21 Page 5 of 11

11. —_ All written work plans shall identify with reasonable specificity the activities the
Monitor plans to undertake in execution of the Mandate, including a written request for documents.
The Monitor’s work plan for the first review shall include such steps as are reasonably necessary
to conduct an effective first review in accordance with the Mandate, including by developing an
understanding, to the extent the Monitor deems appropriate, of the facts and circumstances
surrounding any violations that may have occurred before the date of the Agreement. In developing
such understanding, the Monitor is to rely, to the extent possible, on available information and
documents provided by the Defendant. It is not intended that the Monitor will conduct his or her
own inquiry into the historical events that gave rise to the Agreement.

First Review

12. _—‘ The first review shall commence no later than one hundred twenty (120) calendar
days from the date of the engagement of the Monitor (unless otherwise agreed by the Defendant,
the Monitor, and the Fraud Section). The Monitor shall issue a written report within one hundred
fifty calendar (150) days of commencing the first review, setting forth the Monitor’s assessment
and, if necessary, making recommendations reasonably designed to improve the effectiveness of
the Defendant’s program for ensuring compliance with U.S. anti-fraud laws and applicable
Department of Defense regulations. The Monitor should consult with the Defendant concerning
his or her findings and recommendations on an ongoing basis and should consider the Defendant’s
comments and input to the extent the Monitor deems appropriate. The Monitor may also choose
to share a draft of his or her reports with the Defendant prior to finalizing them. The Monitor’s
reports need not recite or describe comprehensively the Defendant’s history or compliance
policies, procedures and practices. Rather, the reports should focus on areas the Monitor has

identified as requiring recommendations for improvement or which the Monitor otherwise

D-5
Case 1:21-cr-00742-EGS Document 5-4 Filed 12/22/21 Page 6 of 11

concludes merit particular attention. The Monitor shall provide the report to the governing body
and contemporaneously transmit copies to:

Avi Perry

Acting Chief, Market Integrity and Major Frauds Unit

Andrew Gentin

Acting Chief, Corporate Enforcement, Compliance, and Policy Unit

Criminal Division, Fraud Section

U.S. Department of Justice

1400 New York Avenue N.W.

Bond Building, Eleventh Floor

Washington, D.C. 20005
After consultation with the Defendant, the Monitor may extend the time period for issuance of the
first report for a brief period of time with prior written approval of the Fraud Section.

13. | Within one hundred fifty (150) calendar days after receiving the Monitor’s first
report, the Defendant shall adopt and implement all recommendations in the report. If the
Defendant considers any recommendations unduly burdensome, inconsistent with applicable law
or regulation, impractical, excessively expensive, or otherwise inadvisable, it must notify the
Monitor and the Fraud Section of any such recommendations in writing within sixty (60) calendar
days of receiving the report. The Defendant need not adopt those recommendations within the one
hundred fifty (150) calendar days of receiving the report but shall propose in writing to the Monitor
and the Fraud Section an alternative policy, procedure, or system designed to achieve the same
objective or purpose. As to any recommendation on which the Defendant and the Monitor do not
agree, such parties shall attempt in good faith to reach an agreement within forty-five (45) calendar
days after the Defendant serves the written notice.

14. ‘In the event the Defendant and the Monitor are unable to agree on an acceptable

alternative proposal, the Defendant shall promptly consult with the Fraud Section. The Fraud

Section may consider the Monitor’s recommendation and the Defendant’s reasons for not adopting

D-6
Case 1:21-cr-00742-EGS Document 5-4 Filed 12/22/21 Page 7 of 11

the recommendation in determining whether the Defendant has fully complied with its obligations
under the Agreement. Pending such determination, the Defendant shall not be required to
implement any contested recommendation(s).

15. With respect to any recommendation that the Monitor determines cannot
reasonably be implemented within one hundred fifty (150) calendar days after receiving the report,
the Monitor may extend the time period for implementation with prior written approval of the
Fraud Section.

Follow-Up Reviews

16. A follow-up review shall commence no later than one hundred and eighty (180)
calendar days after the issuance of the first report (unless otherwise agreed by the Defendant, the
Monitor and the Fraud Section). The Monitor shall issue a written follow-up (“second”) report
within one hundred twenty (120) calendar days of commencing the second review, setting forth
the Monitor’s assessment and, if necessary, making recommendations in the same fashion as set
forth in Paragraph 12 with respect to the first review. After consultation with the Defendant, the
Monitor may extend the time period for issuance of the second report for a brief period of time
with prior written approval of the Fraud Section.

17. Within one hundred twenty (120) calendar days after receiving the Monitor’s
second report, the Defendant shall adopt and implement all recommendations in the report, unless,
within thirty (30) calendar days after receiving the report, the Defendant notifies in writing the
Monitor and the Fraud Section concerning any recommendations that the Defendant considers
unduly burdensome, inconsistent with applicable law or regulation, impractical, excessively
expensive, or otherwise inadvisable. With respect to any such recommendation, the Defendant

need not adopt that recommendation within the one hundred twenty (120) calendar days of

D-7
Case 1:21-cr-00742-EGS Document 5-4 Filed 12/22/21 Page 8 of 11

receiving the report but shall propose in writing to the Monitor and the Fraud Section an alternative
policy, procedure, or system designed to achieve the same objective or purpose. As to any
recommendation on which the Defendant and the Monitor do not agree, such parties shall attempt
in good faith to reach an agreement within thirty (30) calendar days after the Defendant serves the
written notice.

18. In the event the Defendant and the Monitor are unable to agree on an acceptable
alternative proposal, the Defendant shall promptly consult with the Fraud Section. The Fraud
Section may consider the Monitor’s recommendation and the Defendant’s reasons for not adopting
the recommendation in determining whether the Defendant has fully complied with its obligations
under the Agreement. Pending such determination, the Defendant shall not be required to
implement any contested recommendation(s). With respect to any recommendation that the
Monitor determines cannot reasonably be implemented within one hundred twenty (120) calendar
days after receiving the report, the Monitor may extend the time period for implementation with
prior written approval of the Fraud Section.

19. | The Monitor shall undertake a second follow-up (“third”) review not later than one
hundred fifty (150) days after the issuance of the second report. The Monitor shall issue a third
report within one hundred and twenty (120) days of commencing the review, and
recommendations shall follow the same procedures described in Paragraphs 16-18. Following the
third review, the Monitor shall certify whether the Defendant’s compliance program, including its
policies, procedures, and internal controls, is reasonably designed and implemented to prevent and
detect violations of U.S. anti-fraud laws and applicable Department of Defense regulations. The
final review and report shall be completed and delivered to the Fraud Section no later than thirty

(30) days before the end of the Term.
Case 1:21-cr-00742-EGS Document 5-4 Filed 12/22/21 Page 9 of 11

Monitor’s Discovery of Potential or Actual Misconduct
20. = (a) Except as set forth below in sub-paragraphs (b), (c) and (d), should the
Monitor discover during the course of his or her engagement that:

e improper payments or anything else of value may have been offered,
promised, made, or authorized by any entity or person within the Defendant
or any entity or person working, directly or indirectly, for or on behalf of
the Defendant; or

° the Defendant may have maintained false books, records or accounts; or

° the Defendant may have failed to implement a system of internal
accounting controls that is sufficient to accurately record the Defendant’s
transactions (collectively, “Potential Misconduct’), the Monitor shall
immediately report the Potential Misconduct to the Defendant’s General
Counsel, Chief Compliance Officer, and/or Audit Committee for further
action, unless the Potential Misconduct was already so disclosed. The
Monitor also may report Potential Misconduct to the Fraud Section at any
time, and shall report Potential Misconduct to the Fraud Section when it
requests the information.

(b) In some instances, the Monitor should immediately report Potential

Misconduct directly to the Fraud Section and not to the Defendant. The presence of certain factors
militates in favor of reporting Potential Misconduct directly to the Fraud Section and not to the
Defendant, namely, where the Potential Misconduct involves senior management of the Defendant

or involves obstruction of justice.

D-9
Case 1:21-cr-00742-EGS Document 5-4 Filed 12/22/21 Page 10 of 11

(c) If the Monitor believes that any Potential Misconduct has occurred or may
constitute a U.S. criminal or regulatory violation (“Actual Misconduct”), the Monitor shall
immediately report the Actual Misconduct to the Fraud Section. When the Monitor discovers
Actual Misconduct, the Monitor shall disclose the Actual Misconduct solely to the Fraud Section,
and, in such cases, disclosure of the Actual Misconduct to the General Counsel, Chief Compliance
Officer, and/or the Audit Committee of the Defendant should occur as the Fraud Section and the
Monitor deem appropriate under the circumstances.

(d) | The Monitor shall address in his or her reports the appropriateness of the
Defendant’s response to disclosed Potential Misconduct or Actual Misconduct, whether previously
disclosed to the Fraud Section or not. Further, if the Defendant or any entity or person working
directly or indirectly for or on behalf of the Defendant withholds information necessary for the
performance of the Monitor’s responsibilities and the Monitor believes that such withholding is
without just cause, the Monitor shall also immediately disclose that fact to the Fraud Section and
address the Defendant’s failure to disclose the necessary information in his or her reports.

(e) Neither the Defendant nor anyone acting on its behalf shall take any action
to retaliate against the Monitor for any such disclosures or for any other reason.

Meetings During Pendency of Monitorship
21. | The Monitor shall meet with the Fraud Section within thirty (30) calendar days after
providing each report to the Fraud Section to discuss the report, to be followed by a meeting
between the Fraud Section, the Monitor, and the Defendant.
22. At least annually, and more frequently if appropriate, representatives from the

Defendant and the Fraud Section will meet to discuss the monitorship and any suggestions,
Case 1:21-cr-00742-EGS Document 5-4 Filed 12/22/21 Page 11 of 11

comments, or improvements the Defendant may wish to discuss with or propose to the Fraud
Section, including with respect to the scope or costs of the monitorship.
Contemplated Confidentiality of Monitor's Reports

23. The reports will likely include proprietary, financial, confidential, and competitive
business information. Moreover, public disclosure of the reports could discourage cooperation, or
impede pending or potential government investigations and thus undermine the objectives of the
monitorship. For these reasons, among others, the reports and the contents thereof are intended to
remain and shall remain non-public, except as otherwise agreed to by the parties in writing, or
except to the extent that the Fraud Section determines in its sole discretion that disclosure would

be in furtherance of the Fraud Section’s discharge of its duties and responsibilities or is otherwise

required by law.

 

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Salta. Beatty Camm unifies, Lt C.

D-11
